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                               UNITED STATES DISTRICTC COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 17-CV-81152-BLOOM/REINHART


  DONALD BURNS,


                         Plaintiff,

      v.
  TOWN OF PALM BEACH, a
    Florida Municipal corporation,

                         Defendant.
                                         /

           REPORT AND RECOMMENDATION ON DEFENDANT’S MOTION TO DISMISS
                       AND/OR FOR SUMMARY JUDGMENT [DE 21]

            Before the Court for decision is Defendant’s Motion to Dismiss and/or for Summary

  Judgment (“the Motion”) (DE 21), which was referred to the undersigned by the District Court

  by Order dated April 18, 2018. DE 53. At a status conference on April 16, 2018, the parties

  agreed that the Court should treat the Motion as a Motion for Summary Judgment under Federal

  Rule of Civil Procedure 56 on the issue of liability, only. Based upon this agreement, the Court

  deems the Motion to be a Motion for Partial Summary Judgment and will apply the legal

  standards application to this kind of motion. For the reasons stated herein, the undersigned

  RECOMMENDS that the District Court GRANT the Motion and enter judgment for Defendant

  on Counts 1 and 2.

              The Court has reviewed the Motion (DE 21), its supporting Memorandum of Law (DE

  22), the Defendant’s Statement of Undisputed Facts (“DSOF”)(DE 23), the exhibits in support of

  the Motion, (DE 24, 27), the Response to the Motion (DE 35), its supporting Appendix and

  Evidence (DE 36, 38, 39, 40, 41, 42)), the Plaintiff’s Statement of Undisputed Facts



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  (“PSOF”)(DE 56), and the Defendant’s Replies (DE 45, 68). The Court also has reviewed

  supplemental briefs (DE 60, 61) filed in response to the Court’s Order dated April 24, 2018. DE

  54. Additionally, the Court has reviewed Plaintiff’s Notice of Supplemental Authority (DE 65)

  an Defendant’s Notices of Intent to Rely filed at DE 69, 70. The Court held oral argument on the

  Motion on May 17, 2018. The Court also reviewed post-argument briefs and responses (DE 81,

  82, 85, 86) This matter is now ripe for decision.1




  																																																													
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    On December 22, 2017, in response to Defendant’s Motion for Partial Summary Judgment,
  Burns filed a Declaration (DE 41) pursuant to Federal Rule of Civil Procedure 56(d) asserting
  that he could not present facts essential to opposing the Motion because Defendant moved for
  summary judgment before responding to the Complaint and before the parties had conducted any
  discovery. See Fed. R. Civ. P. 56(d) (“If a nonmovant shows by affidavit or declaration that, for
  specified reasons, it cannot present facts essential to justify its opposition [to a motion for
  summary judgment], the court may (1) defer considering the motion or stay it; (2) allow time to
  obtain affidavits or declarations or to take discovery; or (3) issue any other appropriate order.”).
  This Court conducted an oral argument on May 17, 2018, almost 5 months after the filing of the
  Rule 56(d) declaration. In the interim, Burns was free to take discovery, obtain affidavits, or
  otherwise prepare an opposition to the Motion. Burns has not filed a renewed Rule 56(d)
  declaration. He fully briefed a response to the Motion and participated in oral argument.
  Nevertheless, in his post-argument supplemental briefing, Burns renews his request that the
  Court not rule against him for lack of evidence until he can conduct additional discovery. DE 82
  at 4; DE 86 at 6-7. The Court finds that Burns has waived any objection to the Court ruling on
  the Motion based on lack of sufficient discovery. “The protection afforded by Rule 56[d] is an
  alternative to a response in opposition to summary judgment under 56(e) . . .” Pasternak v. Lear
  Petroleum Exploration, Inc., 790 F.2d 828, 833 (10th Cir. 1986) (emphasis in original). “When,
  as here, a party has responded to a summary judgment motion under 56(e), that party waives any
  option it may have had to proceed under Rule 56[d].” Villa v. Bd. of Cty. Comm'rs of the Cty. of
  Arapahoe, 931 F.2d 900 at * 4 (10th Cir. May 1, 1991).



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                                         I.   BACKGOUND


         Defendant Town of Palm Beach (“the Town”) is a municipal corporation organized

  under the laws of the State of Florida. The Town is governed by a Town Council. The Town

  Council has adopted a Code of Ordinances (“Code”) for the Town. Chapter 18, Article III, of

  the Code establishes an Architectural Commission (“ARCOM”).             Code Section 18-146

  articulates the purposes of the ARCOM as follows:

         Sec. 18-146. - Statement of findings and purpose.

         (a) The town council has found that Palm Beach is internationally known and
             has become a worldwide synonym for beauty, quality and value.
         (b) In recognition of the fact that beautiful communities can be created only
             through a deliberate search for beauty on the part of the community
             leadership, architects, planners, realtors and the building industry, backed by
             an appreciation of the visual world by the people, the town council has
             created the architectural commission.
         (c) Public action for improving community appearance, as embodied in the
             architectural commission, will provide the ultimate designers of individual
             structures with the larger contexts in which their particular works will be
             viewed. Since the beauty of a community involves the aesthetic quality of all
             one sees in moving about, it goes far beyond the design of individual
             architectural facades.
         (d) The comprehensive plan and zoning codes are the most powerful legal
             enforcement of an overall urban concept, but alone they do not create
             beauty, aesthetic order, or amenity. The task of the architectural commission
             is therefore to preserve various elements of urban beauty and require that
             new projects enhance the existing elements.
         (e) The essential foundation of beauty in communities is harmony. The plan for
             achieving beauty must grow out of special local characteristics of site,
             aesthetic tradition and development potential. Some local areas of natural
             beauty are the beaches, ocean and intracoastal waterway. The vistas and
             visual delight of these should be allowed only to be enhanced. It is the intent
             of this article to achieve a pleasant and comprehensive cohesiveness in
             community development.
  DE 1, Exhibit A. Certain construction projects within the boundaries of the Town require prior

  review and approval by the Town Council and/or the ARCOM. See, e.g., Code § 18-175



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  (Issuance of Building Permits); §§ 134-126, et seq (Site Plan Review).

         As more fully discussed below, Plaintiff Donald Burns (“Burns”) owns a residence at

  1021 N. Ocean Boulevard in the Town. Beginning in or about 2014, Plaintiff sought to replace

  his existing residence with a new residence in a more modern architectural style. He applied to

  the Town Council for approval of his new construction. The Town Council referred the matter

  to the ARCOM, which ultimately declined to authorize Burns’ design proposal. The ARCOM

  denial was based upon portions of Section 18-205 of the Code, which is entitled “Criteria for

  building permit” (reprinted in full as Appendix 1).

         Under the Section 18-177 of the Code, Burns could have appealed the ARCOM

  decision to the Town Council and ultimately to Palm Beach Circuit Court.              He did not.

  Instead, he filed the instant action challenging the constitutionality of Sections 18-146 and 18-

  205 (“the Ordinances”)


                                      II. LEGAL ARGUMENTS


      A. Burns’ Claims

         In a two-count Complaint (DE 1), Burns alleges that the Town unconstitutionally denied

  him the right to have a residence of his chosen design at 1021 N. Ocean Boulevard, all in

  violation of 42 U.S.C. § 1983. Count One alleges that the Town’s actions deprived Burns of:

         (a) his right to due process because the Ordinances are “vague, overbroad and fail

         to provide objective and verifiable standards . . . [such that] on their face, and as

         applied here [they] deprive the plaintiff of the right to be fully informed of the

         standards for review of proposed plans for the use of his property.” (Id. at ¶

         32(a)), and

         (b) his right to equal protection of the law because “the historical applications of



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                the challenged [Ordinances] have had anomalous results vis-à-vis the issuance of

                building permits in the Town of Palm Beach. Application of the vague and

                overbroad provisions have allowed dissimilar structures to be approved and

                constructed [such that] denying the Plaintiff’s structure constitutes a denial of the

                right to equal treatment under the law.” Id. at ¶ 32(b).

  In his Supplemental Brief (DE 61), Burns clarified, “in Count I, Plaintiff has asserted due

  process arbitrary and capricious claims (both facial and as applied) and equal protection claims

  (both facial and as applied).” DE 61 at 3.2 At oral argument, Burns also clarified that he was not

  asserting a procedural due process claim. DE 90 (hereinafter “Hearing Transcript”) at 16.3

                Count Two alleges, “[a]rchitecture and architectural design are forms of expression that

  are protected by the First Amendment.” DE 1 at ¶ 34. Therefore (the Complaint alleges), the

  																																																													
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   As Burns correctly notes, the Eleventh Circuit has identified four Fourteenth Amendment based
  claims that typically are asserted when challenging a state or local zoning ordinance -- (1) due
  process just compensation claims, (2) due process takings claims, (3) due process arbitrary and
  capricious claims, and (4) equal protection claims. See Eide v. Sarasota County, 908 F.2d 716,
  720-22 (11th Cir. 1990). What Eide defines as a “due process arbitrary and capricious claim” is
  also commonly designated a “substantive due process” claim. See Restigouche, Inc. v. Town of
  Jupiter, 59 F.3d 1208, 1211 & n.1 (11th Cir. 1995); Greenbriar, Ltd. v. City of Alabaster, 881
  F.2d 1570, 1573-74 (11th Cir. 1989). Burns is not pursuing due process just compensation or a
  due process takings claim. DE 61 at 3. Moreover, as discussed below, since deciding Eide, the
  Eleventh Circuit has limited the circumstances in which a substantive due process claim can be
  brought in the land-use context.
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    The Complaint also references possible claims under the Fifth and Fifteenth Amendments. DE
  1 at ¶¶ 2, 33. At oral argument, Burns conceded that the reference to the Fifteenth Amendment
  was a scrivener’s error. Burns’ justification for his Fifth Amendment claim was that the “due
  process clause [ ] was made applicable to the States through the Fourteenth Amendment.” See
  Hearing Transcript at 10:10-12. The Fifth Amendment’s due process clause applies only to the
  federal government, not to state or local officials. See Hester v. Lowndes Cty. Comm’n., 2006
  WL 2547430, at *3 (M.D. Ala. Sept. 1, 2006) (citing Knoetze v. U.S. Dep’t of State, 634 F.3d
  207, 211 (5th Cir. 1981)). Therefore, Burns cannot assert a Fifth Amendment claim here.
  Finally, although the Complaint discusses prior occasions when Burns pointed out inconsistent
  application by the Town of its own ordinances, Burns does not assert that the Town retaliated
  against him based on his First Amendment speech on those occasions. See Hearing Transcript at
  93:2-8. 	



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  Ordinances denied and infringed Burns’ First Amendment right of expression. Id. at ¶ 35.

                In summary, Burns challenges the Ordinances on their faces and as applied, as follows:

                1. Facial substantive due process challenge to Section 18-146
                2. Facial equal protection challenge to Section 18-146
                3. Facial first amendment challenge to Section 18-146
                4. As-applied substantive due process challenge to Section 18-146
                5. As-applied equal protection challenge to Section 18-146
                6. As-applied first amendment challenge to Section 18-146
                7. Facial substantive due process challenge to Section 18-205
                8. Facial equal protection challenge to Section 18-205
                9. Facial first amendment challenge to Section 18-205
                10. As-applied substantive due process challenge to Section 18-205
                11. As-applied equal protection challenge to Section 18-205
                12. As-applied first amendment challenge to Section 18-205
                13. Void for vagueness challenge to Section 18-205

  See Hearing Transcript at 11:11-12:4. Burns seeks a declaratory judgment that the Ordinances

  are unconstitutional on their face and as applied to Burns. He also seeks an order enjoining the

  ordinances and enjoining the Town from denying Burns the right to construct the home of his

  chosen design. Finally, he seeks monetary damages, attorneys’ fees and costs.4

         B. Town’s Motion for Partial Summary Judgment

                The Town asserts that it is entitled to judgment as a matter of law because:

                (a)            The Ordinances on their faces do not violate the substantive due process

                               requirement of the Fourteenth Amendment because they are rationally

                               related to the legitimate government purpose of maintaining the aesthetic

                               beauty of the Town and because they are sufficiently limited so as to not

                               be unconstitutionally subjective or vague. DE 21 at ¶¶ 10, 11.

                (b)            The Ordinances as applied to Burns do not violate the substantive due

                               process requirement of the Fourteenth Amendment because Burns
  																																																													
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    As noted above, the parties agree that the issue of the appropriate remedy (if any) is not
  presently before the Court for decision.



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              received constitutionally adequate procedural due process. Alternatively,

              the Town asserts that ARCOM’s decision was rational and does not shock

              the judicial conscience. Id. at ¶¶ 12-13.

        (c)   The Ordinances on their faces treat all properties alike, so they do not

              violate the Equal Protection Clause. Id. at ¶ 18.

        (d)   The Ordinances, as applied, do not violate the Equal Protection Clause

              because of the unique nature of real property and architecture. Id. at ¶ 19.

              Alternatively, Burns has not identified a “similarly situated” property that

              was treated differently for an irrational reason. Id. at ¶ 20.

        (e)   Residential architecture is not protected expression under the First

              Amendment, DE 21 at ¶ 22, or alternatively the Ordinances are valid time,

              place and manner restrictions. DE 81 at 23; DE 85 at 10-12.

        (f)   For prudential reasons, the Court should require Burns to exhaust other

              available remedies before deciding the constitutional issues. DE 60 at 8-

              10.




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                                                     III.         UNDISPUTED MATERIAL FACTS5

                Burns owns real property at 1201 N. Ocean Boulevard, Palm Beach, Florida. DE 38-1 at

  ¶1. Burns has lived there for over 18 years. Id. The real property comprises an ocean-front lot

  and an existing residence. In December 2014, Burns applied to the Town Council for permission

  to demolish the existing structure and build a new residence on the site (“the 2014 Application”).

  DE 24-1 through 24-5. The new structure would be in the “International Style,” a more modern

  style of architecture than the existing home. See Opinion Letter of Architect David Chase dated

  January 8, 2016 (DE 42-3); see also Photographs of 3D Model (DE 42-1). Burns wanted his

  new residence to convey his “personal philosophy” which “embrace[s] simplicity in lifestyle and

  living, with an emphasis on fewer personal possession.” See Burns Dec. at ¶ 4 (DE 38-1). He

  wanted his home to “communicate that I am unique and different from my neighbors.” Id. “To

  communicate these messages” Burns sought to employ specific design elements, such as

  “[s]imple lines, minimal decorative elements, and open spaces built of solid, quality materials.”

  Id. at ¶ 5.

                Because the lot was not wide enough to conform to the applicable zoning standards for

  new construction, Burns needed a special exception and site plan approval from the Town
  																																																													
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    Each party submitted Proposed Statements of Undisputed Facts (DE 23, DE 56, DE 68). The
  Court finds that many of those proposed facts (whether disputed or not) are not material to the
  legal issues presented by the Defendant’s Motion for Partial Summary Judgment. Only the
  material facts are summarized herein. The Court also considers other material evidence in the
  record that was not cited with particularity by either party. See Fed. R. Civ. P. 56(c)(3) (“The
  court need consider only the cited materials, but it may consider other materials in the record.”).

  Burns argued that some of the Town’s undisputed “facts” were legal arguments, but did not
  present specific record citations in opposition to those assertions. See DE 56. To the extent the
  Court believes that a particular paragraph in either party’s proposed statement of undisputed fact
  contains an assertion of material fact and no contradictory material in the record is cited, that
  assertion of fact is deemed admitted if it is supported by evidence in the record. See Fed. R. Civ.
  P. 56(c)(A); Local Rule 56.1(b) (“If a party fails to controvert a proposed statement of material
  fact, that fact will be deemed admitted if it is supported by evidence in the record.”).




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  Council. DE 24-2 at 2-3. When the Town Council met in February 2015 to consider the 2014

  Application, neighbors opposed the proposed new structure; they argued that it did not conform

  to the existing neighborhood, had excessive height and massing, and similar concerns. DSOF at

  ¶ 10. At Burns’ request, the Town Council twice deferred action on the 2014 Application;

  eventually, the Burns withdrew the 2014 Application. Id. at ¶ 11.

         In November 2015, Burns submitted a new application for special exception and site plan

  approval (“the 2015 Application”). Id. at ¶ 12; see also DE 24-19, 24-20. The revised design of

  the residence was similar to that proposed in the 2014 Application; it remained an International

  Style structure. DSOF at ¶ 13; PSOF at ¶ 13; DE 24-19 through 24-25. The Town Council

  considered the 2015 Application at a meeting on January 13, 2016. DSOF at ¶ 14. Witnesses

  testified in support of, and in opposition to, the application, including Burns’ architect and

  landscape architect. DSOF at ¶ 18; PSOF at ¶¶ 14, 18. The primary opposition arguments were

  that the structure was too large and too dissimilar in style to the surrounding homes. DSOF at ¶

  18. The Town Council unanimously voted to defer a final decision on the 2015 Application until

  the ARCOM reviewed the project. DSOF at ¶ 15; DE 24-27 at 14; DE 39-1 at 23-25.

         The ARCOM first met on the 2015 Application on May 25, 2016. DSOF at ¶ 18. It

  heard witnesses in support of, and in opposition to, the proposal; the witnesses who opposed the

  project argued it was too large for the lot, too dissimilar with the neighborhood, had an

  inappropriate glass to mass ratio, and invaded the privacy of neighbors. Id., DE 24-41 at 5-7, DE

  24-44. Burns introduced testimony from an architect that in the period between 1954 and 2015,

  the Town considered fifteen international/modern architectural designs, ultimately approving all

  but one; the one proposal was rejected because it was “excessively dissimilar regarding the

  neighborhood fabric context within 200 feet.” See DE 39-2 (Testimony of David Chase at May




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  25, 2016, ARCOM meeting) at 68:3-10; 79:22-80:1. Architect Chase highlighted eight other

  properties on which owners had proposed building international/modern style homes over the

  past few decades. See Id. at 72:18-78:13 (discussing homes by address); DSOF (Reply) DE 68 at

  ¶ 42. The ARCOM approved Burns’ application to demolish his existing home. DE 24-41 at 6.

  It voted 4-3 to defer a decision on Burns’ proposed residential design so he could revise it. DE

  24-41 at 7. 	

          The ARCOM met again on August 24, 2016. DSOF at ¶ 20. Burns presented a revised

  project that was approximately 25% smaller than the previous version, moved the residence

  farther from the seawall, increased the amount of landscaped space, and reduced the amount of

  glass. DSOF (Reply) DE 68 at ¶ 43. Burns also cited comparators, arguing that modern or

  “International Style” homes, similar to Burns’ proposal, had been approved by prior ARCOM

  committees over the years elsewhere throughout the Town. Neighbors continued to object that

  the proposed house did not fit in the neighborhood, was too massive for the site, had an

  excessive glass to mass ratio, and other concerns. DE 24-50 at 5-7. Some members of the

  ARCOM shared the neighbors’ concerns. Others believed that the structure as modified should

  be approved. Id. A member of the ARCOM moved to deny approval based on Section 18-

  205(a)(6) and (8), but this motion was rejected by a 4-3 vote. DE 24-50 at 7. Ultimately, the

  ARCOM voted to defer a decision for another month to allow the Burns to again revise his

  proposal. DSOF at ¶ 45.

          At the next ARCOM meeting on September 28, 2016, Burns reviewed changes that had

  been made since the last ARCOM meeting, presented a PowerPoint, discussed the “International

  Style” of comparators, and presented expert testimony in support of the proposal. DSOF at ¶ 23;

  PSOF at ¶¶ 23, 46; DE 39-4. Neighbors (personally and through architects they hired to appear




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  before the ARCOM) continued to object to the project, including persisting in their argument

  that it was too massive, and dissimilar to the existing neighborhood. DE 24-58 at 3-6. They and

  their attorneys also argued that Burns’ proposed comparators were not, in fact, comparable. The

  ARCOM voted 5-2 to deny approval for the project. DSOF at ¶29; DE 24-58 at 6. Each

  ARCOM member spoke and explained his/her vote. DE 39-4 at 68-82.

                ARCOM filed a written denial which stated that the basis for its decision was that the

  proposed residence did not conform to the following requirements of Section 18-205:6

                (4)            The proposed building or structure is not in harmony with the proposed

                               developments on land in the general area

                ...


                (6)            The proposed building or structure is excessively dissimilar in relation to

                               any other structure . . . within 200 feet of the proposed site in respect to

                               one or more of the following features:


                               (c)            Architectural compatibility.

                               (d)            Arrangement of the components of the structure.

                               (e)            Appearance of mass from the street or from any perspective
                                              visible to the public or adjoining property owners.

                               (f)            Diversity of design that is complimentary with size and
                                              massing of adjacent properties.



  																																																													
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    Burns submitted a Declaration stating that he was not provided with a copy of the ARCOM
  written denial. DE 57 at ¶5. It is not disputed that ARCOM filed this denial. Nor is it disputed
  that Burns was aware that his proposal had been rejected and the reasons for the rejection. The
  transcript of the September 28, 2106, ARCOM meeting shows that Burns and his counsel were
  present. DE 39-4 at 16-17. In any event, whether Burns was provided a copy of the denial is not
  material to the issues before the Court.



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                (8)            The proposed development is not in conformity with the standards of this

                               Code and other applicable ordinances insofar as the location and

                               appearance of the buildings and structures are involved.

  DE 24-64 at 2-4. Burns did not appeal the decision of ARCOM to the Town Council nor did he

  file a petition for certiorari in state circuit court seeking further review.7


                                                                  IV.   DISCUSSION

         A. Legal Principles Applicable to Multiple Claims

                1.             Subject Matter Jurisdiction

                 Federal courts are courts of limited subject matter jurisdiction. A court has an

   independent obligation to ensure its own jurisdiction. United States v. Hays, 515 U.S. 737, 742

   (1995); Wilson v. Minor, 220 F.3d 1297, 1303 n. 11 (11th Cir. 2000) (“Of course, a federal court

   has an independent obligation to ensure that it has jurisdiction over any claim brought before it

   even if jurisdictional questions are not raised by either party.”). “Article III of the Constitution

   restricts the power of federal courts to ‘Cases’ and ‘Controversies.’” Chafin v. Chafin, 568 U.S.

   165, 171 (2013). In order to be a justiciable case or controversy, the party seeking relief must

   have “standing” to bring the claim and the matter must be “ripe” for decision. The party

   invoking federal jurisdiction bear the burden of establishing that that they have standing to sue

   and that this case is ripe for review. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561

   (1992); Am. Civil Liberties Union of Florida, Inc. v. Dixie Cnty., Fla., 690 F.3d 1244, 1247

   (11th Cir. 2012).

                 The Court applies a three-part test to determine if a party has standing.

  																																																													
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    Although not documented in the evidence submitted to the Court, both parties have noted in
  their pleadings that Burns did not seek further review of the ARCOM decision, so the Court
  deems it a stipulated fact.



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          First, the plaintiff must have suffered an “injury in fact” -- an invasion of a legally
          protected interest which is (a) concrete and particularized, and (b) “actual or
          imminent, not conjectural or hypothetical.” Second, there must be a causal
          connection between the injury and the conduct complained of -- the injury has to
          be “fairly . . . trace[able] to the challenged action of the defendant, and not . . . the
          result of the independent action of some third party not before the court.” Third, it
          must be “likely,” as opposed to merely “speculative,” that the injury will be
          “redressed by a favorable decision.”

   Lujan, 504 U.S. at 560–61, cited and quoted in Bochese v. Town of Ponce Inlet, 405 F.3d 964,

   980 (11th Cir. 2005).

          Even if Article III standing exists, the controversy may not be ripe for decision. “The

   ripeness inquiry requires a determination of (1) the fitness of the issues for judicial decision, and

   (2) the hardship to the parties of withholding court consideration. Digital Properties, Inc. v. City

   of Plantation, 121 F.3d 586, 589 (11th Cir. 1997) (citations omitted). A matter is ripe only if “the

   claim is sufficiently mature, and the issues sufficiently defined and concrete, to permit effective

   decisionmaking by the court.” Id.

          In the context of government zoning regulations, a justiciable as-applied claim does not

   exist until the regulation is applied to a person’s property. See, e.g., Eide v. Sarasota Cty., 908

   F.2d 716, 724, 726 (11th Cir. 1990) (as-applied challenge to zoning ordinance not ripe because

   landowner did not “demonstrate that the sector plan has been applied to his property.”).

   Nevertheless, a facial challenge to a zoning regulation is ripe even if the regulation has not been

   applied to the property in question. See Id. at n.14; see generally Hodel v. Virginia Surface

   Mining and Reclamation Ass'n, 452 U.S. 264, 294 (1981) (premature to consider as-applied

   challenge to Surface Mining Act where no property had “been taken by operation of the Act”;

   facial challenge permitted but rejected on the merits).

          Ripeness also encompasses prudential considerations that may result in a court’s refusal

   to exercise jurisdiction, even when constitutional requirements are met. Konikov v. Orange Cty.,




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   Fla., 410 F.3d 1317, 1322 (11th Cir. 2005) (citing Digital Properties, Inc. v. City of Plantation,

   121 F.3d 586, 589 (11th Cir. 1997)). The goal is to “prevent the courts, through avoidance of

   premature adjudication, from entangling themselves in abstract disagreements over

   administrative policies.” Temple B'Nai Zion, Inc. v. City of Sunny Isles Beach, Fla., 727 F.3d

   1349, 1356 (11th Cir. 2013) (quoting Nat'l Park Hospitality Ass'n v. Dep't of Interior, 538 U.S.

   803, 807 (2003)). An additional purpose is to “shield agencies from judicial interaction until an

   administrative decision has been formalized and its effects felt in a concrete way by the

   challenging parties.” Id. (quoting Konikov, 410 F.3d at 1322). Particularly in the context of

   land use litigation, federal courts generally seek to limit their role in an effort to avoid

   “usurp[ing] the roles of agencies, review boards, and state courts . . .” DeKalb Stone, Inc. v.

   County of DeKalb, Ga., 106 F.3d 956, 960 (11th Cir.1997). “There is an important reason for

   this policy: a state should have the first chance to correct the mistakes it makes when reasonably

   regulating the land within its borders.” Romero v. Watson, 2009 WL 1361714, at *2 (N.D. Fla.

   May 13, 2009) (citing Eide, 908 F.2d at 726 (“zoning is a delicate area where a county’s power

   should not be usurped without giving the county an opportunity to consider concrete facts and

   the merits prior to a court suit.”).

           Here, the Town argues that prudential concerns should foreclose Burns’ lawsuit at this

   stage because he failed (1) to appeal the ARCOM’s denial to the Town Council or the Circuit

   Court, and (2) to make a “good faith” proposal for a smaller house more compatible with the

   neighborhood. DE 81 at 42. The Town also contends that while the ARCOM rejected Burns’

   “toned-down” proposal, “[n]o one knows what [the] Town Council would have done on appeal .

   . . [because it] was never given the opportunity to address the issue.” Id. at 43. Despite these

   prudential concerns, the Town concedes that the matter is ripe for this Court’s review, and thus,




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   the Court declines to defer its decision.

          2.      Summary Judgment

      The legal standard for summary judgment is well-settled:

          A party may obtain summary judgment “if the movant shows that there is no
          genuine dispute as to any material fact and the movant is entitled to judgment as a
          matter of law.” Fed. R. Civ. P. 56(a). The parties may support their positions by
          citation to the record, including inter alia, depositions, documents, affidavits, or
          declarations. Fed. R. Civ. P. 56(c). An issue is genuine if “a reasonable trier of
          fact could return judgment for the non-moving party.” A fact is material if it
          “might affect the outcome of the suit under the governing law.” The Court views
          the facts in the light most favorable to the non-moving party and draws all
          reasonable inferences in its favor.
          ...

          The moving party shoulders the initial burden of showing the absence of a
          genuine issue of material fact. Once this burden is satisfied, “the nonmoving party
          ‘must make a sufficient showing on each essential element of the case for which
          he has the burden of proof.’ ” Accordingly, the non-moving party must produce
          evidence, going beyond the pleadings, and by its own affidavits, or by
          depositions, answers to interrogatories, and admissions on file, designating
          specific facts to suggest that a reasonable jury could find in his favor.

  Rubenstein v. Fla. Bar, 72 F. Supp. 3d 1298, 1307–08 (S.D. Fla. 2014) (J. Bloom) (citations

  omitted).

          3.      Facial Constitutional Challenge

          A facial challenge to a government regulation “is an attack on a statute itself as opposed

  to a particular application.” City of Los Angeles, Calif. v. Patel, __ U.S. __, 135 S. Ct. 2443,

  2449 (2015); Hodel v. Virginia Surface Min. & Reclamation Ass'n, Inc., 452 U.S. 264, 295

  (1981) (facial challenge attacks the “mere enactment” of a regulation.). The party challenging

  the regulation bears the burden of establishing that it is facially unconstitutional. Jacobs v. The

  Fla. Bar, 50 F.3d 901, 906 n. 20 (11th Cir. 1995) (citing N.Y. State Club Ass'n, Inc. v. City of

  N.Y., 487 U.S. 1, 11 (1988).




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         A plaintiff mounting a facial challenge “must establish that no set of circumstances exists

  under which the [statute or regulation] would be valid.” United States v. Salerno, 481 U.S. 739,

  745 (1987). That is, “when a plaintiff attacks a law facially, the plaintiff bears the burden of

  proving that the law could never be constitutionally applied.” Jacobs, 50 F.3d at 906 n. 20. This

  heavy burden makes such an attack “the most difficult challenge to mount successfully against

  an enactment.” Salerno, 481 U.S. at 745. “Interpretation of a statute or ordinance is a question

  of law and therefore may be determined by the court on a motion for summary judgment.”

  Rectory Park, L.C. v. City of Delray Beach, 208 F. Supp. 2d 1320, 1329 (S.D. Fla. 2002) (J.

  Hurley) (citing United States v. Prosperi, 201 F.3d 1335, 1342 (11th Cir. 2000)).

      B. Section 18-146

         Burns’ challenge to the constitutionality of Section 18-146 is not justiciable. Section 18-

  146 is a statement of purpose, only. It does not mandate that a property owner comply with

  particular procedures, it does not empower the Town to grant or deny any privileges to a

  property owner, it does not contain any enforcement provisions. It merely explains why the

  Town is creating the ARCOM. Therefore, because Section 18-146 does not (and could not) act

  as a restriction on Burns, it cannot give rise to an injury-in-fact that creates a “case or

  controversy.” Burns lacks standing to bring a constitutional challenge against Section 18-146.

  See Patel, 135 S. Ct. at 2451

         Even if Burns had standing, his as-applied and facial challenges to Section 18-146 must

  be rejected. His as-applied challenge to Section 18-146 is not ripe because that ordinance has

  not been used to deprive him of any rights, so his claim is not sufficiently mature. For the same

  reason, Burns’ Section 1983 claims (even if ripe) fail on the merits insofar as they challenge

  Section 18-146. Section 1983 requires proof that a citizen was deprived of constitutional rights




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  under color of law. Because Section 18-146 creates no limits on individual rights and contains

  no enforcement mechanism, the undisputed facts fail to show that it was used (or could be used)

  to deprive Burns of a constitutional right.                     Therefore, to the extent Burns challenges the

  constitutionality of Section 18-146, those challenges should all be rejected as a matter of law.

         C. First Amendment Expressive Speech

                The First Amendment’s free speech clause, as applied to the States through the

  Fourteenth Amendment’s due process clause, protects more than pure written and oral speech. It

  protects, inter alia, certain expressive conduct, music, and (as relevant here) visual art. See, e.g.,

  Texas v. Johnson, 491 U. S. 397, 404 (1989)(flag burning), Hurley v. Irish-American Gay,

  Lesbian and Bisexual Group of Boston, 515 U.S. 557 (1995)(parading); Ward v. Rock Against

  Racism, 491 U.S. 781 (1989)(music); Bery v. City of New York, 97 F.3d 689 (2d Cir. 1996)

  (paintings, photographs, prints and/or sculptures). Nevertheless, the First Amendment does not

  protect every action or tangible object that in some way implicates expression. See United States

  v. O’Brien, 391 U.S. 367, 376 (1968)(“We cannot accept the view that an apparently limitless

  variety of conduct can be labeled ‘speech’ whenever the person engaging in the conduct intends

  thereby to express an idea.”). The Supreme Court’s decision in Spence v. Washington, 418 U.S.

  405 (1974) establishes a baseline for the free speech clause: as a threshold matter, an act or an

  object, taken in context, must be “sufficiently imbued with elements of communication.” Id. at

  409-10.

                Burns asserts, “Architecture and architectural design are forms of expression that are

  protected by the First Amendment.” DE 1 at ¶34. 8 Building on this assertion, he argues that the


  																																																													
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   	Even assuming arguendo that architecture and architectural design are forms of expression, the
  Supreme Court has made clear that not every expression receives First Amendment protection,
  and that this determination is factually individualized, based in part on context. Therefore, as



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  specific residential structure he proposed to build at 1201 N. Ocean Boulevard was visual art

  which intrinsically expressed certain of Burns’ personal values. See DE 38-1 (Declaration of

  Donald Burns).9 He argues that the Town, through the ARCOM, abridged his protected First

  Amendment rights by denying him the right to create and display this art.

                Burns bears the initial burden of proving that his expression falls within the protection of

  the First Amendment. E.g., Clark v. Cmty for Creative Non-Violence, 468 U.S. 288, 293 n.5. If

  he does, the burden shifts to the Town to justify any restriction on that expression. Dills v. Cobb

  Cty., Ga., 755 F.2d 1473, 1474 (11th Cir. 1985); Towbin v. Antonacci, 885 F. Supp. 2d 1274,

  1280 (S.D. Fla. 2012) (J. Williams) (“the moving party bears the initial burden of making a

  colorable claim that its First Amendment rights have been infringed, or are threatened with

  infringement, at which point the burden shifts to the government to justify the restriction.”).

  Therefore, for purposes of the as-applied First Amendment claim, Burns must show that the

  specific residential structure that he proposed to build at 1201 N. Ocean Boulevard, taken in its

  particular context, is expression that is entitled to First Amendment protection. For purposes of

  the facial First Amendment claim, Burns must show that all forms of architecture and

  architectural design that are regulated by the Ordinances are protected expression.

                Notably, the parties suggest similar standards for determining whether Burns’ proposed

  residence qualifies as First Amendment expression. Burns argues that the Court should follow

  Justice Marshall’s dissenting opinion in Clark v. Community for Creative Non-Violence, 468

  																																																																																																																																																																																																				
  discussed more fully below, the Court does not (and cannot) resolve the broader issue of whether
  all architecturally-designed structures categorically qualify as visual art protected by the First
  Amendment.
  	
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    Notably, Burns does not allege that either the act of building the residence or the act of living in
  the constructed residence would be expressive conduct. See, e.g., DE 82 at 9 (“The expression is
  not the act of building the home; it is the artistic design that conveys the message.”); DE 86 at 4.




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  U.S. 288 (1984). DE 82 at 5. That is, the Court should look “first to the intent of the speaker –

  whether there was an intent to convey a particularized message – and second to the perception of

  the audience – whether the likelihood was great that the message would be understood by those

  who viewed it.” Clark, 468 U.S. at 305 (internal quotations omitted). Burns also relies on

  Hurley v. Irish-Am. Gay, Lesbian and Bisexual Grp. of Boston, 515 U.S. 557 (1995) as

  establishing “when conduct rises to the level of expression that is protected speech” (DE 61 at 8),

  and for the propositions that “pure art is protected and any infringement of that activity must be

  analyzed under the strict scrutiny standard” (DE 82 at 10), and that “a narrow, succinctly

  articulable message is not a condition of constitutional protection.” Id.; see also Hearing

  Transcript at 69:25-71:4 (referencing Hurley). According to Burns, he intended the design of his

  home to communicate his “evolving personal philosophy with an emphasis on fewer personal

  possessions and simplicity in lifestyle” and he believes that message “would be reasonably

  understood by those who viewed it” in that “at least some people would clearly understand that

  the architecture of a home is intended to be expressive.” DE 82 at 7-8; DE 86 at 3-4.

         The Town, arguing that the First Amendment only protects conduct that is “inherently

  expressive,” applies a similar two-part test. DE 81 at 12 (“whether an intent to convey a

  particularized message was present,” and “whether the likelihood was great that the message

  would be understood by those who viewed it”) (citing Texas v. Johnson, 491 U.S. 397, 404

  (1989)). Unlike Burns, the Town concludes that “there is little likelihood that the general public

  passing by Burns’ house would understand that it was his intent to convey a message that he is a

  non-traditionalist, seeking a simplistic lifestyle, and is expressing his ‘inner-self.’” DE 60 at 14.

  Moreover, applying a “dominant purpose” test (see Mastrovincenzo v. City of New York, 435

  F.3d 78, 95 (2d Cir. 2006)), the Town concludes that the primary purpose of a residence “is a




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  dwelling in which to live, not to convey a message.” DE 81 at 14.

         Assuming that the residence qualifies as expression protected by the First Amendment,

  Burns (citing Hurley) argues that the Court should apply strict scrutiny in determining whether

  the Ordinances are proper time, place, and manner restrictions. See Hearing Transcript at 60:23-

  62:22; DE 35 at 10-11; DE 82 at 10-13. The Town argues that intermediate scrutiny applies,

  citing United States v. O’Brien, 391 U.S. 367 (1968) and Ward, 491 U.S. at 791. See Hearing

  Transcript at 35:21-37:1; 121:2-13; DE 60 at 15-20; DE 81 at 19-24.

         Neither party has cited (nor has the Court found) a reported appellate decision addressing

  whether a residential structure constitutes visual art protected by the First Amendment. The

  Court is not without guidance, however. Two lines of related First Amendment jurisprudence

  inform how this issue should be resolved. One is the line involving expressive conduct, that is,

  public actions that are intended by the actor to communicate an expressive message. The second

  involves expressive merchandise, that is, tangible objects that have a function independent of

  expression, but that also involve an element of expression. As discussed more fully below,

  relying on the expressive conduct jurisprudence, the Washington Supreme Court held that a

  church building was entitled to First Amendment protection. Relying on the same test, the

  District of Nevada held that certain residential structures did not fall within the First

  Amendment.

         1. Expressive Conduct

         In the Eleventh Circuit, expressive conduct receives First Amendment protection if (1)

  the actor intends for the conduct to communicate a message, and (2) there is a great likelihood

  that a reasonable person observing the conduct in the context of the surrounding circumstances

  would understand the conduct to be communicative. Holloman ex rel Holloman v. Harland, 370




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  F.3d 1252, 1270 (11th Cir. 2004).10 A particularized message is not required. Id. (citing Hurley

  515 U. S. at 569). Instead, “in determining whether conduct is expressive, we ask whether the

  reasonable person would interpret it as some sort of message, not whether an observer would

  necessarily infer a specific message.” Holloman, 370 F.3d at 1270. See also Hurley, 515 U.S. at

  569-70 (“a narrow, succinctly articulable message is not a condition of constitutional protection .

  . . a private speaker does not forfeit constitutional protection simply by . . . failing to edit their

  themes to isolate an exact message”).

                Whether certain expressive conduct is deemed to be “sufficiently imbued with elements

  of communication” to fall within the First Amendment depends on “‘the nature of [the] activity,

  combined with the factual context and environment in which it was undertaken . . .’” Tenafly

  Eruv Ass'n, Inc. v. Borough of Tenafly, 309 F.3d 144, 158 (3d Cir. 2002) (quoting Spence v.

  Washington, 418 U.S. 405, 409–10 (1974). “Context is crucial to evaluating an expressive

  conduct claim because the context may give meaning to the . . . act in question.” Id.            This

  “context-dependent inquiry” is “fact-sensitive.” Id.

                2. Expressive Merchandise

                Some situations involve the sale of objects that combine expression with a non-

  expressive function (“expressive merchandise”). Like Burns, the proprietors of this merchandise

  do not assert that the act of selling is expressive; they claim that the objects themselves

  inherently express artistic sentiments.

                The seminal case on expressive merchandise is Bery v. City of New York, 97 F.3d 689 (2d

  Cir. 1996), a case involving the sale of paintings, prints, sculpture, and photography by street

  vendors in New York City. A group of painters, photographers, and sculptors challenged a New

  																																																													
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   	 Holloman involved a public school student who raised his fist in protest of another student
  being disciplined for refusing to say the Pledge of Allegiance.	



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  York City ordinance that required all street vendors to obtain a vending license, at the risk of a

  fine, imprisonment, and forfeiture of merchandise for non-compliance. The vendors sought an

  injunction, arguing that enforcement of the ordinance against them violated their First

  Amendment right to freedom of expression.           Although the City argued that the vendors’

  expression was not their art but the peddling of their art, the plaintiffs in Bery did not assert that

  the act of selling their merchandise was protected speech. Id. at 695. Rather, they argued that

  the merchandise itself was art that contained an intrinsic expressive message. Id. at 695 (“Visual

  artwork is as much an embodiment of the artist’s expression as is a written text”). The district

  court denied the injunction, but the Second Circuit reversed. 97 F.3d at 699.

         The Bery court noted that different forms of visual art contain different levels of

  expressive content, not all of which was entitled to First Amendment protection. It differentiated

  objects that were “potentially expressive” from those that were “presumptively expressive.” See

  Mastrovincenzo, 435 F.3d at 93 (discussing Bery). The Second Circuit distinguished “the crafts

  of the jeweler, the potter and the silversmith . . . [which] may at times have expressive content,

  [from] paintings, photographs, prints and sculptures . . . [which] always communicate some idea

  or concept to those who view it, and as such are entitled to full First Amendment protection.” Id.

  at 696 (emphasis added). “Courts must determine what constitutes expression within the ambit

  of the First Amendment and what does not. This surely will prove difficult at times, but that

  difficulty does not warrant placing all visual expression in limbo outside the reach of the First

  Amendment’s protective arm.” Id. Thus, while Bery acknowledged that some visual art receives

  First Amendment protection, it acknowledged that some would not.

         Having found that the paintings, prints, sculpture, and photography were entitled to full

  First Amendment protection, the Bery court then analyzed whether the New York City ordinance




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  was a valid content-neutral time, place, and manner restriction. Finding that it was not, the

  Second Circuit reversed the district court’s denial of a preliminary injunction. On remand, the

  City stipulated to a permanent injunction that prohibited it from enforcing the ordinance against

  “paintings, photographs, prints and/or sculptures” (i.e., the presumptively expressive arts).

         Bery left unresolved when potentially-expressive visual art should receive First

  Amendment protection. A follow-up case forced the Second Circuit to revisit this unresolved

  question and to refine Bery. In Mastrovincenzo, appellants were unlicensed street vendors of

  clothing painted with customized graffiti. They argued that the street vendor ordinance

  unconstitutionally abridged their first amendment right of expression; they claimed that each

  article of their clothing was an individual work of art. The trial court found that the merchandise

  constituted “expressive works of art” and issued the injunction. 435 F.3d at 87-88.

         The Second Circuit declined to decide whether the clothing was “art,” which it described

  as “a famously malleable concept the contours of which are best defined not by courts, but in the

  proverbial ‘eye of the beholder.’” Id. at 90. Instead, it applied a two-part test to determine if the

  clothing warranted First Amendment protection: (1) was the sale of plaintiffs’ items

  “predominantly expressive,” and if so (2) did the licensing ordinance fail an intermediate

  standard of First Amendment scrutiny. Id. at 91. In resolving the first inquiry, the Second

  Circuit applied a predominant purpose test, that is, “whether the disseminators of that clothing

  are genuinely and primarily engaged in artistic self-expression or whether the sale of such goods

  is instead a chiefly commercial exercise.” Id. “Because the most reliable means of resolving this

  difficult question is to examine objective features of the merchandise itself, we begin by

  analyzing whether plaintiffs’ items, on their face, appear to serve predominantly expressive

  purposes.” Id. The “threshold analysis of the objective characteristics of” the clothing was “the




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  first step of a large inquiry into whether plaintiffs are engaged in protected speech – an inquiry

  that may also be informed by other, more subjective considerations.” Id. For potentially-

  expressive items, an individualized, case-by-case inquiry is required to determine if the particular

  work is sufficiently expressive. Id. at 93. In making this analysis, “the most reliable means of

  determining whether a vendor is primarily engaged in an act of self-expression is not to consult

  the vendor himself (who will, in most instances, have a strong incentive to emphasize his artistic

  motivations), but rather to examine the expressive content of the materials being sold.” Id. at 94.

         Once a court has determined that an item possesses expressive elements, it should
         then consider whether that item also has a common non-expressive purpose or
         utility. Because merchandise that clearly has an alternative, non-expressive
         purpose . . . is more likely to possess only marginal expressive content or to have
         been minimally embellished for the purpose of avoiding regulation, courts should
         exercise great skepticism in designating such items as “expressive merchandise.”
         The fact that an object serves some utilitarian purpose does not, however,
         automatically render it non-expressive; rather, upon a finding that the item in
         question possesses some common non-expressive purpose, a court should then
         determine whether that non-expressive purpose is dominant or not. Where an
         object’s dominant purpose is expressive, the vendor of such an object has a
         stronger claim to protection under the First Amendment; conversely, where an
         object has a dominant non-expressive purpose, it will be classified as a “mere
         commercial good[],” the sale of which likely falls outside of the First
         Amendment.

  Id. at 95 (brackets in original). By way of example, the Second Circuit identified several items

  that had dominant non-expressive purposes: “A cufflink fastens the cuff and keeps the

  shirtsleeve from crowding the wrist; a pot serves as a tidy and dry depository for food and other

  objects, and cutlery (or, for that matter, a silver plate), even if wrought with substantial skill and

  artistry, most often serves a predominantly non-expressive purpose.” Id. at 95.

         The Second Circuit ultimately found that the Mastrovincenzo plaintiffs’ clothing was

  predominantly expressive, which “provide[d] a strong indication that plaintiffs are engaged in

  protected speech, yet it does not end our inquiry.” Nevertheless, the Court also looked to other




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  factors “that shed light on how and why an object is being sold or disseminated.” Id. at 96. The

  Mastrovincenzo court considered whether the motivation for producing and selling the item was

  a desire to communicate ideas and whether the sale of the items was an act of self-expression or

  a mere commercial transaction. Id. at 96-97. The Court made clear that these factors were a

  non-exhaustive, suggested list “that courts may wish to consider in future circumstances, which

  may differ in unpredictable ways from the case at bar.” Id.

         The Second Circuit did not analyze the clothing under the expressive conduct doctrine of

  the First Amendment. “We need not apply the doctrine of expressive conduct here because

  plaintiffs’ conduct – namely, the sale and dissemination of their artistic objects – does not itself

  contain any expressive content. That is, plaintiffs’ claims to First Amendment protection are not

  predicated on the theory that the act of distributing their artistic objects itself conveys a separate

  “particularized message” likely to be understood by an audience. Rather, plaintiffs assert that by

  disseminating to the public objects that they have invested with meaning through their artistry

  they are communicating directly through those objects – in short, that they are engaging in

  protected speech.” 435 F.3d at n.9.

         3. Architecture Cases

         The parties have identified only one reported federal court case that addressed the

  question whether a residential structure is “sufficiently imbued with elements of communication

  to fall within the scope of the First and Fourteenth Amendments.” Committee for Reasonable

  Regulation of Lake Tahoe v. Tahoe Regional Planning Agency, 311 F. Supp. 2d 972, 1004 (D.

  Nev. 2004) (quoting and citing Spence). This decision pre-dated Mastrovincenzo. It involved,

  inter alia, a First Amendment facial challenge to an ordinance that regulated “the size, color,

  appearance, visibility, and other aspects of residential housing on littoral and shoreland




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  properties in the Lake Tahoe basin.” 311 F. Supp. 2d at 975. It was asserted by an amicus that

  residential housing should be treated as speech protected by the First Amendment. Id.          The

  court modified the question presented to more accurately reflect the issue before the Court: “[t]he

  question is not whether a residential home is speech, but whether the remodeling or rebuilding of

  a home that affects the design, color, size, visibility and other aspects of the home’s overall

  appearance is speech.” Id. (citation omitted). The court applied the two-part test from Spence

  and Clark: “(1) whether the actor had an intent to convey a particular message, and (2) in

  context, would the act or symbol reasonably be understood by the viewer to be communicative.”

  Id. at 1005. It found that the plaintiffs had failed to meet this burden. Id. Regarding the second

  factor, the Court said, “Although some residential remodels or rebuilds may involve an intent to

  convey an artistic, political, or self-expressive message, the great majority of remodeling or

  rebuilding projects involving residential housing are functional in nature and are not commonly

  associated with expression.” Id. at 1005 (emphasis in original). Nevertheless, the court left open

  the possibility that some other residential structure could qualify for First Amendment

  protection.

         Separately, in a decision that predated Mastrovincenzo and Bery, the Washington

  Supreme Court addressed a First Amendment challenge to a Landmarks Preservation statute that

  would have limited a church’s ability to make changes to the exterior of its structure. First

  Covenant Church of Seattle v. City of Seattle, 120 Wash. 2d. 203 (1992). The court held that the

  statute infringed the church’s right to free speech. Id. at 216. It applied the Spence and Johnson

  tests: whether considering the speech in context, there was an intent to convey a particularized

  message and a great likelihood that the message would be understood by those who observed it.

  Id. at 216-17. The Court accepted that the “church building itself ‘is an expression of Christian




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  belief and message’ and that conveying religious beliefs is part of the building’s function.” Id. at

  217. It concluded that an observer would understand that the building (both interior and exterior)

  were “freighted with religious meaning.” Id. Therefore, it held that the statute violated the

  Church’s right to free speech.

                4. Legal Standards Applicable to Burns’ Structure

                The Court finds that the residential structure here is best analogized to potentially-

  expressive merchandise.                                It has both a communicative component and a meaningful non-

  communicative functional purpose; this factor differentiates the instant case from the expressive

  conduct cases.

                Expressive conduct tracks closer to pure speech and the core of the First Amendment

  than does potentially-expressive merchandise.11                              Therefore, in delineating which expressive

  conduct receives First Amendment protection (i.e., whether it is sufficiently imbued with

  elements of communication), it is appropriate to apply the Hurley standard and ask whether a

  reasonable observer would discern any message from the conduct. This standard best manages

  the risk that protected speech, in the form of expressive conduct, is not abridged.

                When dealing with potentially-expressive tangible objects, however, a more limited

  approach is warranted because there is less risk of abridging core First Amendment principles,

  and more risk of prohibiting government regulation of objects that are not primarily expressive.

  A broad spectrum of tangible objects could be deemed to be expressing some message, even a de

  minimis one – a beautifully plated meal could be expressing the chef’s artistic philosophy; a

  hybrid car may communicate the owner’s concern about greenhouse gases (or their desire to use


  																																																													
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    “The Eleventh Circuit applies the same legal test to both pure speech and expressive conduct.
  Holloman, 370 F. 3d at 1270.
  	



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  the HOV lane on a crowded highway); a couture garment could communicate the wearer’s sense

  of individuality; a residence in a particular neighborhood or community could communicate a

  love of the ocean, an embracing of new urbanism, a desire for solitude, or many other

  messages.12 See Mastrovincenzo, 435 F.3d at 87 (Noting that the trial court had “conceded that

  ‘almost every object can conceivably be interpreted as having some expressiveness,’ and that

  ‘not everything labeled or hawked as art [should be considered expressive art].’”)(citations

  omitted)(brackets in original). In fact, many corporations market their goods by emphasizing

  that the product inherently communicates a message about the person using the product – Pepsi

  (“the choice of a new generation”); Apple (“think different”); Nike (“just do it”); BMW (“the

  ultimate driving machine”); Montblanc (“the art of writing”). The government’s police power to

  regulate health, safety, and general welfare would be unduly restricted if every potentially-

  expressive tangible object obtained First Amendment protection whenever the proponent

  subjectively intended to communicate a message and a reasonable observer would discern any

  expressive message from the object. Id. at 92 (“The observation that any object with a size,

  shape and density has the potential to be art . . . is a truism, and in legal terms, not entirely

  helpful. To say that the First Amendment protects the sale or dissemination of all objects

  ranging from ‘totem poles’ to television sets does not take us far in trying to articulate or

  understand a jurisprudence of ordered liberty; indeed, it would entirely drain the First

  Amendment of meaning.”)(citations omitted)(emphasis in original). Because of the fundamental

  differences between expressive conduct cases and tangible object cases, this Court finds that the
  																																																													
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     Conversely, almost any piece of presumptively-expressive visual art could have a non-
  expressive use, albeit not a predominant one. For example, a Faberge egg could be used as a
  paperweight; a Lladro figurine could be used as a door stop; a Rodin sculpture could be used to
  block a right-of-way; a Picasso painting can be used to cover a whole in the wall. Thus, it is
  clear that visual art does not automatically lose First Amendment protection because it may have
  some non-expressive use.
  	




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  Holloman/Hurley test alone is not sufficient for deciding if a residential structure warrants First

  Amendment protection.

                The Court finds that the Second Circuit’s “predominant purpose” framework adds a

  necessary limitation when dealing with potentially-expressive tangible objects. The Court will

  incorporate this framework into the Spence and Johnson tests applied in the above-discussed

  architecture cases and the Holloman test applied by the Eleventh Circuit to expressive conduct.

  Therefore, in determining whether a particular residential structure receives First Amendment

  protection, the Court will employ the following test:

                (1)            Is the owner of the structure subjectively intending to communicate a

                message?

                (2)            Is the predominant purpose of the structure to communicate a message?

                (3)            Is there a great likelihood that a reasonable person observing the structure

                in the context of the surrounding circumstances would understand it to be

                predominantly communicating some message, albeit not necessarily the

                particularized message intended by the owner?13

                Having derived the proper test, the Court next must determine if Burns’ First Amendment

  claims are properly decided on summary judgment. Defendant concedes (and the undisputed

  facts support) that Burns subjectively intended to convey a message. DE 81 at 9 n.2. Burns has

  satisfied the first element of the Court’s test. The Court makes an objective determination of the

  predominant purpose of the structure. As the Mastrovincenzo court noted, the artist’s subjective

  intent may be relevant but is not controlling. Here, the Court can decide from the undisputed

  																																																													
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     The decision in First Covenant Church is consistent with this test. A court would be well
  within its discretion to conclude that the predominant purpose of a church or other house of
  worship is to communicate a message of religious belief, and that a reasonable observer would
  identify a predominantly expressive message.



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  evidence in the record whether Burns has met his burden of showing that the predominant

  purpose of the structure was expressive. The parties agree that it is an issue of law whether there

  is a great likelihood that a reasonable person observing the proposed structure in context would

  understand it to be communicative. DE 82 at 5; DE 81 at 21-23. Neither party has identified a

  disputed issue of fact material to this legal determination. Finally, whether the Ordinances

  constitute a content-neutral time, place, and manner restriction is an issue of law. See Granite

  State Outdoor Advert., Inc. v. City of St. Petersburg, Fla., 348 F.3d 1278, 1283 (11th Cir. 2003)

  (on de novo review, Court ruled in favor of defendant on summary judgment finding that its

  content-neutral time, place, and manner restriction on protected speech passed constitutional

  muster). Summary judgment is appropriate.

                The Court finds that, in context, the predominant purpose of Burns’ structure was non-

  expressive.14 It is a privately-owned residential structure. It would be located in a residential

  neighborhood; there is no evidence that it would be in a public forum or commercial district.

  The architectural drawings submitted to the ARCOM demonstrate that the structure is, first and

  foremost, a residence. As originally presented, it would be a permanent structure of over 14,000

  square feet, consisting of two stories above a basement containing a garage, laundry, wine

  storage, and a steam room. DE 1 at ¶17. The plans detailed numerous bedrooms and bathrooms,

  terraces, balconies, an elevator, and a pool. DE 24-3. The home’s placement on an oceanfront

  lot, with expansive windows facing the water, strongly suggest that it would exist primarily as a

  space for the enjoyment of its occupant, not as an expressive piece of art. Moreover, the original

  elevation drawings show that the overall design incorporated a privacy wall and heavy

  landscaping on the west side of the property to provide a buffer between the public thoroughfare


  																																																													
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       Copies of the architectural drawings and elevations are reprinted as Appendix 2.



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  and the structure. This buffer is more consistent with incorporating solitude into a private

  residence than creating a piece of expressive art for public expression. The structure is thickly

  landscaped on both the north and south to limit the neighbors’ sight lines. Again, this feature

  reduces the structure’s expressive function. The Court finds that the predominant purpose of the

  structure is to serve as a residence, not as a piece of visual art.

                The Court also finds that the undisputed material facts fail to show that there is a great

  likelihood that a reasonable person observing the proposed structure in context would understand

  it to be predominantly communicating a message.15 In Cressman v. Thompson, 798 F.3d 938

  (10th Cir. 2015), a symbolic speech case, the Tenth Circuit analogized the Spence-Johnson test

  to the “reasonable observer” analysis used in Free Exercise Clause cases. It stated, “[s]imilarly,

  in the symbolic-speech context, the reasonable person focuses on ‘context [to] give meaning to

  [a] symbol’ and is cognizant of the ‘then-current domestic and foreign affairs of his

  government,’ ‘issue[s] of intense public concern,’ the ‘environment’ in which an expressive act

  occurs, and the reasons for the speaker’s expression.” Id. at 958 (citing Spence, 418 U.S. at 410)

  (brackets in original).

                Here, the undisputed facts fail to show a great likelihood that a reasonable observer

  would consider the proposed structure to be predominantly for an expressive purpose. As noted

  above, the overall context of the structure is to be a private residence largely concealed from the

  public and the neighbors. The only unobstructed viewpoint is from the Atlantic Ocean. The fact

  that the residence is a custom design militates in favor of an observer discerning some expressive
  																																																													
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     Burns argues, “[h]ere, when observing [Plaintiff’s] home, at least some people would infer
  that [Plaintiff], through his homes’ [sic] design, intended to convey a message of lifestyle
  simplicity.” DE 82 at 10 (emphasis added). Plaintiff misstates the applicable test. The legal
  issue is not whether some people would discern a communicative message, it is whether in
  context there is a great likelihood that a reasonable viewer would identify a communication as
  the predominant purpose of the structure. See Holloman, 370 F.3d at 1270.
  	




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  message. Nevertheless, that message is ambiguous. It equally could be Burns’ subjective

  message, or that the owner believes the house fits the lot well, or that the owner could afford this

  particular design, or that the owner likes modern architecture, or that the owner likes this

  particular architect. The fact that the structure is a different style from the neighboring structures

  (and from the existing structure) sends a similarly ambiguous message to an observer. Perhaps

  the owner likes a different style than his neighbors. Perhaps he believes a house made of glass

  and sturdy materials will be more energy efficient or hurricane resistant. Perhaps he wanted to

  upgrade to a bigger house, a better view, or more or different amenities. Finally, nothing about

  the structure identifies Burns as the owner, so to the extent the structure communicates a

  message, the speaker is not readily identified, which affects the viewer’s understanding of the

  reasons for any expressive message. Considering all these factors, the Court finds that Burns has

  not shown a great likelihood that a reasonable observer would conclude that the predominant

  purpose of the structure was expressive rather than residential or functional.

         Because the Court finds that Burns has not met his initial burden of establishing that his

  conduct is protected by the First Amendment, the Court need not address whether the Ordinances

  are content-neutral time place manner restrictions, or otherwise are constitutionally acceptable

  limitations on speech.     Additionally, because the Court finds that the Ordinances can be

  constitutionally applied to Burns’ proposed structure, his facial challenge must also be rejected.

  Even if the as-applied challenge succeeded, the Court would still reject the facial challenge.

  Given the fact-intensive nature of the First Amendment inquiry, the Court cannot hold that in

  every instance and every context an architecturally-designed structure receives First Amendment

  protection. As such, the Court finds that Burns has not met his burden of showing that the

  Ordinances in all instances violate the First Amendment.           His facial challenge should be




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  denied.16

      D. Fourteenth Amendment Claims

           1.     Void for Vagueness

           Whether a law is void for vagueness is a question of law for the court. United States v.

  Paradies, 98 F.3d 1266, 1284 (11th Cir. 1996); Rectory Park, L.C. v. Delray Beach, 208 F. Supp.

  2d 1320, 1329 (S.D. Fla. 2002) (J. Hurley). “Vagueness arises when a statute is so unclear as to

  what conduct is applicable that persons of common intelligence must necessarily guess at its

  meaning and differ as to its application.” United States v. Gilbert, 130 F.3d 1458, 1462 (11th Cir.

  1997).

           The “[v]agueness doctrine . . . does not forbid the legislature from acting toward any end

  it wishes, but only requires it to act with enough clarity that reasonable people can know what is

  required of them and judges can apply the law consistent with their limited office.” Sessions v.

  DiMaya, __ U.S. __, 138 S. Ct. 1204, 1233 (Gorsuch, J.) (concurring in part and concurring in

  the judgment). When evaluating a statute for vagueness, the court must determine whether a

  “person of ordinary intelligence [has] a reasonable opportunity to know what is prohibited,” and

  whether the statute provides “explicit standards” so as to prevent arbitrary and discriminatory

  enforcement. Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). “To find a civil statute

  void for vagueness, the statute must be ‘so vague and indefinite as really to be no rule or

  standard at all.’” Rectory Park, L.C., 208 F. Supp. 2d at 1331 (quoting Boutilier v. INS, 387 U.S.

  118, 123 (1967)).
  																																																													
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     	 The Court also rejects Burns’ compelled speech facial challenge. Burns asserts, “The
  ordinance itself compels certain speech by compelling certain designs. By compelling
  conformity with the houses around it is compelling the design and therefore the speech.”
  Hearing Transcript at 107:13-16. Even assuming that the design of a particular residential
  structure was First Amendment protected speech, nothing within the Ordinances compels the
  owner to build the structure.	



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         “When addressing a facial challenge to a law on vagueness grounds, ‘a court’s first task

  is to determine whether the enactment reaches a substantial amount of constitutionally protected

  conduct . . . such as speech or expression under the First Amendment, or other fundamental

  rights under the Fourteenth Amendment . . . such as those related to family, marriage,

  procreation or child-rearing.” Rectory Park, L.C., 208 F. Supp. 2d at 1329-30 (quoting Village of

  Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 494 (1982). Where the court

  finds that the challenged statute does not impinge on any protected conduct, “a void-for-

  vagueness challenge is more difficult to sustain because ‘[t]he degree of vagueness that the

  Constitution tolerates . . . depends in part on the nature of the enactment.” Rectory Park, L.C.,

  208 F. Supp. 2d at 1330 (where an ordinance “does not implicate substantial constitutionally-

  protected conduct, the court will examine it with somewhat less exacting scrutiny”) (quoting

  Hoffman Estates, 455 U.S. at 498). 17

         This Court has already found that Burns’ asserted expression of his personal beliefs

  through his home’s architecture is not entitled to First Amendment protection. Nor do the facts

  alleged in Burns’ Complaint implicate a fundamental right, either. See McKinney v. Pate, 20

  F.3d 1550 (11th Cir. 1994).      Therefore, the Court will apply the “less exacting scrutiny”

  employed in Rectory Park, L.C., where the plaintiff property owners facially challenged on
  																																																													
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     	There is some question whether a valid facial challenge can be brought where a regulation does
  not implicate a constitutionally-protected right. See United States v. Mazurie, 419 U.S. 544, 550
  (1975) (“It is well established that vagueness challenges to statutes which do not involve First
  Amendment freedoms must be examined in the light of the facts of the case at hand.”); DiMaya,
  138 S. Ct. at 1242 (Thomas J.)(dissenting)(“[I]f the vagueness doctrine has any basis in the Due
  Process Clause, it must be limited to cases in which the statute is unconstitutionally vague as
  applied to the person challenging it.”); see also United States v. Purdy, 264 F.3d 809, 811 (9th
  Cir. 2001) (declining to consider facial vagueness challenge when statute did not involve the
  First Amendment); United States v. Jae Gab Kim, 449 F.3d 933, 942 (9th Cir. 2006) (“vagueness
  challenges to statutes that do not involve First Amendment violations must be examined as
  applied to the defendant”). The Town has not raised this argument, however, so the Court will
  address Burns’ facial vagueness challenge to Section 18-205 on the merits.
  	




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  vagueness grounds a city ordinance restricting the permissible density of certain building

  projects as measured by eight performance standards. Rectory Park, 208 F. Supp. 2d at 1328-29.

  In that case, the court deferred to the city’s interpretation of its ordinance because it was “a

  permissible construction,” and the court concluded that the plaintiff property owners “failed to

  meet their burden to demonstrate that the ordinance is impermissibly vague in all of its

  applications.” Id. at 1329-1330 (citing Southlake Property Assoc., Ltd. v. City of Morrow, 112

  F.3d 1114, 1118 (11th Cir. 1997)). The court found the city’s performance standards to be

  “sufficiently clear” for ordinary people to understand and “sufficiently definite” in the details

  provided. Id. at 1330. The court relied on the “clear import of the section as a whole [ ] that the

  more a project meets each of the standards, the greater will be the amount of increased density

  granted.” Id.

         Here, Burns contends that the criteria set forth in Section 18-205 are too vague and are

  subject to “an individual’s personal tastes or whim,” thus affording ARCOM “unbridled

  discretion.” DE 35 at 12-13. The Town counters that the Ordinance contains “definitive

  criteria” which “guide and constrain the discretion of ARCOM.” DE 22 at 6.

         As in Rectory Park, L.C., this Court finds that the criteria outlined in Section 18-205 of is

  sufficiently clear and definite to withstand a void for vagueness challenge.           Indeed, the

  Ordinance lists specific design elements that cannot be “excessively dissimilar” to other

  structures within a radius of 200 feet, such as the height of the structure, the materials used, and

  the size and mass of the structure. See Code § 18-205 (6)(a), (b), (f). The Ordinance emphasizes

  that “other structures in the immediate area” must be taken into consideration to ensure that the

  proposed structure has “architectural compatibility” and “is in harmony” with those around it.

  Id. at (4), (6)(c), (8). This language, read in conjunction with the subsection requiring that the




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  proposed structure also not be excessively similar to the other structures nearby (id. at (5)), is

  sufficient to put a person of ordinary intelligence on notice as to what types of structures are

  prohibited. That the Ordinance affords the Town some discretion in applying these criteria is not

  fatal. See Rectory Park, L.C., 208 F. Supp. 2d at 1332 (“in land-use regulation the decision-

  maker is permitted to exercise some discretion where the matter concerns a concept as inherently

  subjective as ‘compatibility’”). Given that the Ordinance contains explicit standards regarding

  the specific design elements that will judged, as well as the parameters for an acceptable

  proposal (i.e., structures that are neither excessively similar nor dissimilar to those within 200

  feet), the Court finds that the Town is adequately constrained so as to prevent arbitrary or

  discriminatory enforcement.

         2.      Overbreadth

         The Supreme Court in Salerno acknowledged an exception to the “unconstitutional-in-

  every-conceivable-application” rule governing facial substantive due process challenges in cases

  involving the overbreadth doctrine in “the limited context of the First Amendment.” Horton v.

  City of St. Augustine, Fla., 272 F.3d 1318, 1331 (11th Cir. 2001) (quoting Salerno, 481 U.S. at

  745). The “overbreadth doctrine” allows a litigant to assert a facial challenge to a statute

  because it could compromise the First Amendment rights of parties not before the Court. Id.

  Thus, the litigant challenges the statute on facts that apply to others. See CAMP Legal Defense

  Fund, Inc. v. City of Atlanta, 451 F.3d 1257, 1271 (11th Cir. 2006). As a result, facial challenges

  may be successful though the application of the ordinance in the case under consideration may

  be constitutionally unobjectionable. Forsyth County v. Nationalist Movement, 505 U.S. 123, 129

  (1992)). The Supreme Court reserves this exception for cases involving restrictions on the right

  to free speech because “the very existence of some broadly written laws has the potential to chill




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  the expressive activity of others not before the court.” Id. Here, given that the First Amendment

  is not implicated, Burns’ claim that the Ordinances are overbroad must fail.

            3.      Due Process Arbitrary and Capricious (Substantive Due Process)

            Burns cannot assert an as-applied substantive due process challenge to Section 18-205

  because zoning enforcement actions (as so-called “executive acts”) not involving a fundamental

  right are not subject to substantive due process challenge. Burns can assert a facial challenge to

  Section 18-205 (as a so-called “legislative act”), but that facial challenge fails on the merits.

            Unless a fundamental right is implicated, a party who has received procedural due

  process cannot challenge an “executive act” as arbitrary and capricious under the substantive

  component of the Fourteenth Amendment due process clause. See McKinney v. Pate, 20 F.3d

  1550, 1556-57 & n.9 (11th Cir. 1994) (en banc); see also Greenbriar Village, L.L.C. v. Mountain

  Brook, City, 345 F.3d 1258, 1262 (11th Cir.2003) (“[N]on-legislative deprivations of state-

  created        rights,   which    would      include      land-use     rights,     cannot     support

  a substantive due process claim, not even if the plaintiff alleges that the government acted

  arbitrarily and irrationally. Constitutional due process is satisfied for these deprivations when

  proper procedures are employed.”).         Nevertheless, substantive due process challenges to

  “legislative acts” affecting non-fundamental rights continue to exist. See Kentner v. City of

  Sanibel, 750 F.3d 1274, 1279–80 (11th Cir. 2014) (“There is, however, at least one exception to

  this Circuit’s general rule that there are no substantive due process claims for non-fundamental

  rights. Where a person's state-created rights are infringed by a “legislative act,”

  the substantive component of the Due Process Clause generally protects that person from

  arbitrary and irrational governmental action.”) (citation omitted).




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         Whether governmental conduct is an “executive act” or a “legislative act” is an issue of

  federal law to be determined by the Court. Lewis v. Brown, 409 F.3d 1271, 1273-74 (11th Cir.

  2005). “Executive acts characteristically apply to a limited number of persons (and often to only

  one person); executive acts typically arise from the ministerial or administrative activities of

  members of the executive branch. The most common examples are employment terminations.

  Legislative acts, on the other hand, generally apply to a larger segment of – if not all of – society;

  laws and broad-ranging executive regulations are the most common example.” McKinney, 20

  F.3d at 1557 n.9. “A legislative act also involves policy-making rather than mere administrative

  application of existing policies.” Kentner v. City of Sanibel, 750 F.3d 1274, 1280 (11th Cir.

  2014)(citing and quoting DeKalb Stone, Inc. v. County of DeKalb, Ga., 106 F.3d 956, 959 (11th

  Cir.1997)). The Eleventh Circuit has repeatedly stated that enforcing zoning regulations is an

  executive act. See, e.g., Lewis v. Brown, 409 F.3d at 1274; DeKalb Stone, Inc. v. County of

  DeKalb, Ga., 106 F.3d 956, 959 (11th Cir.1997) (quotation omitted); Boatman v. Town of

  Oakland, 76 F.3d 341, 346 (11th Cir. 1996)(argument that denial of certificate of occupancy was

  arbitrary and capricious, in violation of plaintiff’s substantive due process rights, was “novel”

  and “frivolous”).

         A party may challenge a zoning ordinance on its face on substantive due process grounds

  because such an ordinance is a legislative act. Kentner v. City of Sanibel, 750 F.3d 1274, 1280

  (11th Cir. 2014) (“Because plaintiffs are challenging the Ordinance on its face rather than

  contesting a specific zoning or permit decision made under the auspices of the Ordinance, we

  conclude that they are challenging a legislative act”). This kind of substantive due process

  challenge (which does not implicate a fundamental right) is reviewed under the ‘rational basis”

  standard. Id.; see also Leib v. Hillsborough Cnty. Public Trans. Comm'n, 558 F.3d 1301, 1308




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  (11th Cir. 2009) (“[S]ubstantive due process claims are subject to rational basis review, so long

  as they do not infringe fundamental rights and are not discriminatory.”). This test is not a

  rigorous one, and only requires the court to consider whether the ordinance is “rationally related

  to a legitimate government purpose.” Ga. Mfgd. Hous. Ass'n. v. Spalding Cnty., 148 F.3d 1304,

  1307 (11th Cir. 1998). First, a court must identify a legitimate government purpose that the

  enacting government body could have been pursuing. See Restigouche, Inc. v. Town of Jupiter,

  59 F.3d 1208, 1214 (11th Cir. 1995). Second, the court “asks whether a rational basis exists for

  the enacting government body to believe that the legislation would further [this] hypothesized

  purpose.” Id. “As long as reasons for the legislative classification may have been considered to

  be true, and the relationship between the classification and the goal is not so attenuated as to

  render the distinction arbitrary or irrational, the legislation survives rational-basis scrutiny.”

  Spalding Cnty., 148 F.3d at 1307.

         The party challenging the ordinance bears the burden of establishing a lack of a rational

  basis for that action. Kentner v. City of Sanibel, 750 F.3d at 1281. That is, the party challenging

  the regulation bears the burden of proving that the regulation is “clearly arbitrary and

  unreasonable, having no substantial relation to the public health, safety, morals, or general

  welfare.” New Port Largo, Inc. v. Monroe Cty., 873 F. Supp. 633, 644 (S.D. Fla. 1994) (quoting

  Village of Euclid, Ohio v. Ambler Realty Co., 272 U.S. 365, 395 (1926); see also Spence v.

  Zimmerman, 873 F.2d 256, 258 (11th Cir. 1989) (the state, when zoning land, must not act “for

  an improper motive and by means that were pretextual, arbitrary and capricious, and ... without

  any rational basis.”);   As the Eleventh Circuit has explained, “[t]his standard is ‘highly

  deferential’ and we hold legislative acts unconstitutional under a rational basis standard in only

  the most exceptional of circumstances.” Kentner, 750 F.3d. at 1281 (citations omitted). “[T]he




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  ultimate issue of whether a zoning ordinance is arbitrary and capricious is a question of law to be

  determined by the court. Although subsidiary facts are properly for the factfinder, the ultimate

  issue is one for the court.” Greenbriar, 881 F.2d at 1578.

         Section 18-205 is rationally related to a legitimate government purpose. “It is well settled

  that the maintenance of community aesthetics is a legitimate government purpose.” Restigouche,

  59 F.3d at 1214 (the town’s regulation “reflect[ed] its concern with preserving and establishing

  an aesthetically-pleasing corridor . . . and its goal of creating an identifiable, traditional

  downtown” was a legitimate government goal); see also Corn v. City of Lauderdale Lakes,, 997

  F.2d 1369, 1387 (11th Cir. 1993) (“[T]he Supreme Court and this court have repeatedly held ...

  noise, traffic, congestion, safety, aesthetics, valuation of adjoining land, and effect on city

  services ... are rational and permissible bases for land use restrictions.”)). Here, the Town’s

  goals are clearly set forth in Section 18-146, which states that the Town’s community leadership

  is on a “deliberate search for beauty” which involves a certain “aesthetic quality” that will

  “preserve various elements of urban beauty and require that new projects enhance the existing

  elements.” Section 18-146 emphasizes the need for “harmony” as well as “comprehensive

  cohesiveness in [the] community,” that will highlight the Town’s “natural beauty” and maintain

  the community’s “aesthetic tradition.”      See Kentner, 750 F.3d at 1281 (rejecting facial

  substantive due process challenge because there were rational bases for the ordinance in

  question, including “aesthetic preservation.”). This Court finds that the Town has a rational

  basis for believing that Section 18-205 would further the Town’s legitimate aesthetic goals. See

  Restigouche, Inc., 59 F.3d at 1214 (“we readily conclude that the prohibition of car dealerships

  could rationally further the Town’s legitimate aesthetic purposes and its goal of creating a

  traditional downtown.”).




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         In summary, Burns’ substantive due process claims all fail. His as-applied substantive

  due process claim fails because it constitutes an objection to an executive act – the denial of his

  2015 Application. Burns has not asserted that he was denied procedural due process. As such,

  his as-applied substantive due process claim fails under McKinney.18 Burns’ facial substantive

  due process challenge also fails. He has not sustained his burden of showing that in all possible

  cases there is no rational connection between the Ordinances and the legitimate governmental

  goal of aesthetic preservation.

      4. Equal Protection

         When a person challenges a state created classification under the equal protection clause

  and the classification does not affect “fundamental rights” or use a “suspect classification,” a

  federal court must presume that the classification is valid, and uphold the classification if it is

  rationally related to a legitimate state interest. City of Cleburne v. Cleburne Living Center, 473

  U.S. 432, 440 (1985). Here, because the Ordinances do not involve a suspect classification or

  fundamental right, rational basis scrutiny applies to Burns’ equal protection challenge. Haves v.

  City of Miami, 52 F.3d 918, 921-22 (11th Cir. 1995) (rational basis scrutiny applies in the

  absence of suspect classifications such as “race, alienage, national origin, gender, or illegitimacy

  . . . [or] ‘fundamental rights’ such as privacy and travel”) (citation omitted). The same two-step

  rational basis inquiry applies to an equal protection claim as applies to a substantive due process

  claim. Restigouche, 59 F.3d at 1214 n.6 (“[T]he rational basis inquiry is the same for equal

  protection and substantive due process challenges to zoning.”).            That inquiry turns on

  hypothetical goals and justifications, so the actual motivations of the governmental body
  																																																													
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     	 Even if the Burns could assert an as-applied challenge, it would be limited to the portions of
  18-205 that were the bases for the ARCOM decision. He lacks standing to assert an as-applied
  challenge to the entirety of 18-205.
  	




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  (including contemporaneous statements by government actors) are irrelevant. Haves, 52 F.3d at

  921; see Campbell v. Rainbow City, Ala., 434 F.3d 1306, 1313 (11th Cir. 2006). As long as there

  is “plausible, arguably legitimate purpose” for the application of the regulations, summary

  judgment is appropriate unless the party challenging the regulations can demonstrate that the

  governmental body could not possibly have relied on that purpose. Haves, 52 F.3d at 923.

         A party asserting that a zoning ordinance has been applied in a manner that violates the

  equal protection clause “must show (1) that they were treated differently from other similarly

  situated individuals, and (2) that Defendant unequally applied a facially neutral ordinance for the

  purpose of discriminating against Plaintiffs.” Campbell, 434 F.3d at 1314 (citing Strickland v.

  Alderman, 74 F.3d 260, 264–65 (11th Cir. 1996)). “A showing that two projects are similarly

  situated requires some specificity.” Id. (citing Racine Charter One, Inc. v. Racine Unified School

  Dist., 424 F.3d 677, 680 (7th Cir. 2005) (finding that “[t]o be considered ‘similarly situated,’

  comparators must be prima facie identical in all relevant respects”)). “The reason that there is a

  ‘similarly situated’ requirement in the first place is that at their heart, equal protection claims,

  even ‘class of one’ claims, are basically claims of discrimination.” McDonald v. Village of

  Winnetka, 371 F.3d 992, 1009 (7th Cir. 2004). “To maintain this focus on discrimination, and to

  avoid constitutionalizing every state regulatory dispute, we are obliged to apply the ‘similarly

  situated’ requirement with rigor. ‘Different treatment of dissimilarly situated persons does not

  violate the equal protection clause.’” Griffin Industries, Inc. v. Irvin, 496 F.3d 1189, 1207 (11th

  Cir. 2007) (quoting E & T Realty v. Strickland, 830 F.2d 1107, 1109 (11th Cir. 1987)). For this

  reason, the similarly situated entities presented by plaintiffs alleging class-of-one challenges

  “must be very similar indeed.” Griffin Industries, Inc., at 1205 (quoting McDonald, at 1002).

         In his Complaint, Burns alleges that he was denied equal protection under the law




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  because “historical applications of the challenged sections [of the Ordinance] have had

  anomalous results vis-à-vis the issuance of building permits in the Town of Palm Beach.” DE 1

  at 6-7. Burns contends that the Town’s unequal application of the Ordinance has “allowed

  dissimilar structures to be approved and constructed” while resulting in the ARCOM’s denial of

  his proposed residence. Id. at 7. This argument has been largely undeveloped by Burns in any

  of his briefs. Instead he belatedly seeks “the opportunity to complete discovery” (DE 86 at 6) on

  this issue. For the reasons stated above, see note 1 supra, the Court declines this request.

         Accordingly, the Court will consider whether, on the existing record of undisputed facts,

  Burns has presented sufficient evidence to show that he was treated differently than others who

  were similarly situated. At oral argument, Burns stated that the relevant comparators were the

  structures discussed by David Chase in his presentation to the ARCOM. See Hearing Transcript

  at 102:11-106:7. Burns has failed to establish that these comparators are “prima facie identical”

  to his proposed structure “in all relevant respects.” Campbell, 434 F. 3d at 1314. The Town

  argues, and Burns does not dispute, that the comparators are located in neighborhoods other than

  where Burns proposed to build his structure. See DE 22 at 16. As such, they are not appropriate

  comparators for equal protection analysis. Especially given that Section 18-205 requires the

  ARCOM to consider the proposed structure’s similarity and dissimilarity with the surrounding

  neighborhood, any asserted comparator from outside Burns’ neighborhood that was approved by

  the ARCOM would not be prima facie identical for equal protection purposes. Moreover, the

  Town also correctly argues that the comparators used by Burns were “other Modern style homes

  approved at different times, by different ARCOM boards,” which also makes them inapposite for

  equal protection purposes. See DE 81 at 29 (citing Purze v. Village of Winthrop Harbor, 286

  F.3d 452, 455 (7th Cir. 2002) (plaintiff’s purported comparators were “not identically situated in




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  all relevant respects” because they “submitted their plats during different time periods; and had

  their plat requests granted by different and previous Boards”). Finally, the undisputed facts fail

  to show that the approved designs had similar massing, size, and design elements as proposed by

  Burns. Burns has not show that the approved designs were similarly situated to his proposed

  structure in all relevant respects. Therefore, Burns’ as-applied equal protection challenge fails.

         Because Burns has not shown that similarly situated property owners were treated more

  favorably, the Court need not consider the second part of the equal protection inquiry – whether

  the Town denied Burns’ proposal for a discriminatory purpose because there was no rational

  basis for the difference in treatment. See Stephens v. Broward Sheriff's Office, 84 F. Supp. 3d

  1327, 1343–44 (S.D. Fla. 2014) (court rejected plaintiff’s class-of-one theory where he failed to

  identify any similarly situated individual who was treated differently) (J. Rosenberg), vacated in

  part on other grounds, 852 F.3d 1298 (11th Cir. 2017). Nevertheless, even assuming arguendo

  that Burns satisfied his burden to present similarly situated comparators, the Court would reject

  Burns’ equal protection challenge for the same reasons that the Court rejected Burns’ due

  process argument -- the Court finds that the Town’s application of Section 18-205 to Burns’

  proposal was rationally related to a legitimate government purpose.            Burns’ facial equal

  protection claim also fails as he has not shown that there is no possible case in which Section 18-

  205 could be applied in a non-discriminatory fashion.19




  																																																													
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     	 Because the Court finds that Burns’ equal protection claim fails on the merits, it declines to
  reach the Town’s argument that Engquist v. Oregon Dept. of Agriculture, 553 U.S. 591 (2008)
  should be extended to the zoning regulation context.
  	




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                                    V.         RECOMMENDATION

         For the reasons set forth above, this Court RECOMMENDS that the Town’s Motion to

  Dismiss and/or for Summary Judgment (DE 21) be GRANTED and that judgment be entered in

  favor of the Town on Counts 1 and 2.

                                 NOTICE OF RIGHT TO OBJECT

         A party shall serve and file written objections, if any, to this Report and Recommendation

  with the Honorable Beth Bloom, United States District Court Judge for the Southern District of

  Florida, within FOURTEEN (14) DAYS of being served with a copy of this Report and

  Recommendation. Failure to timely file objections shall constitute a waiver of a party's "right to

  challenge on appeal the district court’s order based on unobjected-to factual and legal

  conclusions." 11th Cir. R. 3-1 (2016).



         DONE AND SUBMITTED in Chambers this 13th day of July, 2018, at West Palm

  Beach in the Southern District of Florida.




                                                _____________________________
                                                BRUCE REINHART
                                                UNITED STATES MAGISTRATE JUDGE




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                                          APPENDIX 1

  Sec. 18-205. - Criteria for building permit.

     (a) The architectural commission may approve, approve with conditions, or disapprove
  the issuance of a building permit in any matter subject to its jurisdiction only after
  consideration of whether the following criteria are complied with:
           (1) The plan for the proposed building or structure is in conformity with good
               taste and design and in general contributes to the image of the town as a
               place of beauty, spaciousness, balance, taste, fitness, charm and high
               quality.
           (2) The plan for the proposed building or structure indicates the manner in
               which the structures are reasonably protected against external and internal
               noise, vibrations, and other factors that may tend to make the environment
               less desirable.
           (3) The proposed building or structure is not, in its exterior design and
               appearance, of inferior quality such as to cause the nature of the local
               environment to materially depreciate in appearance and value.
           (4) The proposed building or structure is in harmony with the proposed
               developments on land in the general area, with the comprehensive plan
               for the town, and with any precise plans adopted pursuant to the
               comprehensive plan.
           (5) The proposed building or structure is not excessively similar to any other
               structure existing or for which a permit has been issued or to any other
               structure included in the same permit application within 200 feet of the
               proposed site in respect to one or more of the following features of
               exterior design and appearance:
                  a. Apparently visibly identical front or side elevations;
                  b. Substantially identical size and arrangement of either doors,
                     windows, porticos or other openings or breaks in the elevation
                     facing the street, including reverse arrangement; or
                  c. Other significant identical features of design such as, but not
                     limited to, material, roof line and height of other design elements.
           (6) The proposed building or structure is not excessively dissimilar in relation
               to any other structure existing or for which a permit has been issued or to
               any other structure included in the same permit application within 200
               feet of the proposed site in respect to one or more of the following
               features:
                  a. Height of building or height of roof.



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                  b. Other significant design features including, but not limited to,
                     materials or quality of architectural design.
                  c. Architectural compatibility.
                  d. Arrangement of the components of the structure.
                  e. Appearance of mass from the street or from any perspective visible
                     to the public or adjoining property owners.
                  f. Diversity of design that is complimentary with size and massing of
                     adjacent properties.
                  g. Design features that will avoid the appearance of mass through
                     improper proportions
                  h. Design elements that protect the privacy of neighboring property.
           (7) The proposed addition or accessory structure is subservient in style and
               massing to the principal or main structure.
           (8) The proposed building or structure is appropriate in relation to the
               established character of other structures in the immediate area or
               neighboring areas in respect to significant design features such as material
               or quality or architectural design as viewed from any public or private
               way (except alleys).
           (9) The proposed development is in conformity with the standards of this
               Code and other applicable ordinances insofar as the location and
               appearance of the buildings and structures are involved.
           (10) The project's location and design adequately protects unique site
               characteristics such as those related to scenic views, rock outcroppings,
               natural vistas, waterways, and similar features.
      (b) If the above criteria are met, the application shall be approved. Conditions may be
  applied when the proposed building or structure does not comply with the above criteria and
  shall be such as to bring such building or structure into conformity. If an application is
  disapproved, the architectural commission shall detail in its findings the criterion or criteria
  that are not met. The action taken by the architectural commission shall be reduced to writing,
  and a copy thereof shall be made available to the applicant upon request.
      (c) A decision or order of the commission or the planning, zoning and building
  department director or his/her designee shall not become effective until the expiration of ten
  working days after the date upon which a ruling of the commission or the planning, zoning and
  building department director or his/her designee has been made.




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                           APPENDIX 2




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